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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

Donna Poplar,

      Plaintiff(s),
                                                Case No: 21-12568
vs                                              Honorable Victoria A. Roberts

Genesee County Road Commission,

     Defendant(s).
________________________________/

                        SCHEDULING ORDER (PHASE II)

               PLEASE DOCKET IMMEDIATELY:
       NO FURTHER NOTICE OF THESE DATES WILL BE SENT

             1.       Dispositive Motion requirements;
             2.       Setting Date for filing of Final Pretrial Order;
             3.       Setting date of Final Pretrial Conference;
             4.       Setting Trial date;
             5.       Providing for content of Final Pretrial Order and describing
                      material to be prepared and to be made available to the
                      Court and counsel; and
             6.       Setting forth brief format requirements.

1.    Dispositive Motions must be filed by:        11/18/2022                        .

When filing motions for summary judgment pursuant to Rule 56 of the Federal
Rules of Civil Procedure, parties must proceed in accordance with the following:

      A. Statement of Material Facts on Motion for Summary Judgment.


      (1)    The maker of the motion must include a Statement of Material Facts.
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            In short, concise and numbered paragraphs, the maker of the motion
            must set forth the material facts that the moving party contends there
            is no genuine issue to be tried. Failure to submit such a statement may
            constitute grounds for striking the motion or denying it.

      (2)   The party opposing the motion must include correspondingly
            numbered paragraphs responding to each numbered paragraph in the
            statement of the moving party, and, if necessary, additional
            paragraphs containing separate, short, and concise statements of
            additional material facts that that party contends there exists a genuine
            issue to be tried.

      (3)   Each numbered paragraph in the moving party’s Statement of Material
            Facts will be deemed admitted for purposes of the motion unless
            specifically controverted by a correspondingly numbered paragraph in
            the statement served by the opposing party.

      (4)   Each Statement of Material Fact - whether set forth by the maker of
            the motion or the party opposing the motion - must be followed by
            citation to interrogatory answers, depositions, documents, affidavits,
            declarations, stipulations, admissions, electronically stored
            information, or other information which would be admissible under
            Federal Rules of Civil Procedure 56(e), in support of each claim or
            defense asserted.

      B. Attached appendices must contain an index and be tabbed.

       C. Counsel are discouraged from employing elaborate boilerplate recitations
of the summary judgment standard or lengthy string citations in support of well
established legal principles. Instead, counsel should focus analysis on a few well
chosen cases, preferably recent and from controlling courts. For cases and other
sources cited, the briefs should contain a link to the citation. Cases should not be
attached.

2.    Response briefs must be filed by: 12/9/2022                                 .

3.    Reply briefs must be filed by: 12/9/2022                                   .


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4.    Deadline for filing motions in limine to exclude expert testimony
      (“Daubert motions”): N/A                                                       .

5.    Motion hearing:     3/21/2023 at 2:00pm                                        .

6.    Case Evaluation: N/A                                                   .
      (Case evaluation must occur approximately four to six weeks before the
      Settlement Conference.)

             Parties stipulate to case evaluation sanctions and costs.

             Parties do not stipulate to case evaluation sanctions and costs.

7.    Plaintiff: Reports pursuant to FRCP 26(a)(2)(B) or Disclosures pursuant to
      FRCP 26(a)(2)(C) by experts are due: 4/28/2023                           .

8.    Defendant: Reports pursuant to FRCP 26(a)(2)(B) or Disclosures pursuant to
      FRCP 26(a)(2)(C) by Defendant experts are due: 4/28/2023           .

9.    Rebuttal reports are due: 5/31/2023                                            .

10.   Expert discovery cutoff: 7/31/2023                                             .

11.   Final Settlement Conference date and time: 8/15/2023 at 2:00pm                 .

      PLEASE NOTE: The parties are required to discuss settlement and exchange
numbers before the Settlement Conference. Failure of any party to engage in this
pre-settlement conference process may result in the imposition of sanctions.

       At the Settlement Conference, parties (and insurance company
representatives) must appear and must have full settlement authority. Such persons
and entities are ordered to prepare for and participate in the Settlement Conference
in objective good faith.

       For the Defendant, the representative must have final authority, in the
representative's own discretion, to pay a settlement amount up to Plaintiff's last
demand. If this representative is an insurance company, the representative must
have final authority to commit the company to pay, in the representative's own

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discretion, an amount up to the Plaintiff's last demand if within policy limits, or if
not within policy limits, the limits of the policy, whichever is lower.

       For a Plaintiff, such representative must have final authority, in the
representative's own discretion, to authorize dismissal of the case with prejudice, or
to accept a settlement amount down to Defendant's last offer, whichever is higher.

    SANCTIONS WILL BE IMPOSED IF THE PARTY WITH FULL
SETTLEMENT AUTHORITY FAILS TO APPEAR.

12.   Deadline for filing Joint Pretrial Order: 8/29/2023                           .

13.   *Deadline for filing all other Motions in Limine: 8/29/2023                  .

14.   *Deadline for filing Responses to Motions in Limine: 9/6/2023                .

15.   Final Pretrial Conference Date and Time: 9/19/2023 at 2:00pm                  .
      Trial counsel must be present at the Final Pretrial Conference.

16.   Hearing on Motions in Limine: 9/19/2023 at 2:00pm                                .

17.   Trial date and time: 9/26/2023 to October 24, 2023 at 9:00am                     .

      Jury Trial       X

      Non Jury Trial

PLEASE NOTE THE FOLLOWING:

1.    The parties may not stipulate to extend any dates.

2.    Briefing Schedule: Unless specifically addressed in this Order, the local
      court rules apply for filing responses and replies to motions.

3.    All briefs must comply strictly with LR 7.1 (Statement of Issues, Statement
      of Controlling/Most Appropriate Authority), and, in addition, must contain a
      Table of Contents, an Index of Authorities and an Index of Exhibits. The
      Exhibits must be tabbed. Unpublished cases should be attached. Counsel are
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      to highlight relevant portions of exhibits to which the Court’s attention
      should be directed. Furthermore, the format requirements as set forth in LR
      5.1 must be strictly adhered to. A courtesy copy of all motions and briefs
      must be submitted directly to Judge Roberts’ chambers and must contain the
      electronic file stamp header.

4.    All motion, responses and replies (“motion papers”) must conform to LRs
      5.1 and 7.1, the Court’s requirements, and the Judge’s practice guidelines in
      all respects.

      Before filing a motion, the movant must comply with Local Rule 7.1 and
      make a reasonable and timely effort to meet or speak personally with
      opposing counsel to seek concurrence. The Court requires an in-person
      video, or telephone conversation with the other persons or counsel entitled to
      be heard. An email exchange will not suffice. The communication must
      also be timely. A conversation that occurs on the same day the motion is
      filed generally will not be sufficient. If no conference is conducted, the
      movant must describe in detail the efforts made to confer with the opponent.

      Any motion filed must state that efforts were made to seek concurrence and
      that it was denied. If you fail to include this statement in any motion filed,
      the Court will strike it and it cannot be refiled.

      If motions papers are supported by deposition testimony, do not include the
      entire deposition; include only the relevant pages and highlight the relevant
      portions. Each page must be bates stamped.

      Attempts to circumvent these requirements in any way may be considered an
      abusive practice which may result in the motion or response being stricken
      as well as sanctions imposed under LR 11.1.

5.    Motion hearings: Pursuant to L.R. 7.1(e)(2), the Court will decide motions
      on the briefs filed, UNLESS the Court issues a Notice of Motion Hearing.

6.    Bench trials: Findings of Fact and Conclusion of Law are to be submitted on
      the first day of trial.

      * Motions in Limine cannot be filed in Bench Trials, except with leave of

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        court.

THE ABOVE CONSTITUTES AN ORDER OF THIS COURT.


                                               s/ Victoria A. Roberts
Dated: 8/13/2022                               Honorable Victoria A. Roberts
                                               United States District Judge

(Revised: 5/2022)




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